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                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA


                    UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                          MIDDLE DIVISION


MAGGIE J. ROBINSON and CODY }
ROBINSON,                   }
                            }
    Plaintiffs,             }
                            }
v.                          }                 Case No.: 4:18-cv-1509-ACA
                            }
LIBERTY MUTUAL INSURANCE }
COMPANY, et al.,            }
                            }
    Defendants.             }



                          MEMORANDUM OPINION
      Brown recluse spiders infested Plaintiffs Maggie J. Robinson and Cody

Robinson’s home in Gadsden, Alabama. Based on the spider infestation, the

Robinsons filed a homeowner’s insurance claim with Defendant Liberty Insurance

Corporation. Liberty Insurance Corporation denied the claim, and the Robinsons

filed this lawsuit, alleging breach of contract and bad faith claims against Liberty

Insurance Corporation, Liberty Mutual Group, Inc., and Liberty Mutual

(“Liberty”).

      Before the court is Liberty’s motion to dismiss the Robinsons’ complaint.

(Doc. 6). As explained below, the Robinsons’ loss is excluded under the relevant

insurance policy. Therefore, the court GRANTS Liberty’s motion to dismiss.
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I.    BACKGROUND

      At this stage, the court must accept as true the factual allegations in the

complaint and construe them in the light most favorable to the plaintiff. Butler v.

Sheriff of Palm Beach Cty., 685 F.3d 1261, 1265 (11th Cir. 2012). The court may

also consider exhibits attached to the complaint. Hoefling v. City of Miami, 811

F.3d 1271, 1277 (11th Cir. 2016); see also Fed. R. Civ. P. 10(c) (“A copy of a

written instrument that is an exhibit to a pleading is part of the pleading for all

purposes.”). Plaintiffs attach to their complaint a copy of the relevant insurance

policy, two letters, and an email. (Doc. 1-1 through Doc. 1-6). As a result, the

court’s description of the facts incorporates not only Plaintiffs’ allegations but also

the content of the exhibits attached to the complaint.

      The Robinsons purchased a home in Gadsden, Alabama in March 2008.

(Doc. 1 at ¶ 13).   After moving into the home, the Robinsons discovered that it

was infested with “a large colony of highly venomous brown recluse spiders.”

(Doc. 1 at ¶ 14). The Robinsons allege that “brown recluse spiders have been

found in every area and room” of their home, “including inside their children’s

clothes, shoes, in their bathrooms and showers, under their beds, in the kitchen

sink, and in light fixtures.” (Doc. 1 at ¶ 25). Between 2013 and 2015, a pest

control company treated the home on three occasions in an effort to eradicate the




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spider infestation, but those efforts failed. (Doc. 1 at ¶¶ 16-20). According to the

Robinsons, the spiders continue to “permeate” their home. (Doc. 1 at ¶ 21).

      In 2014, the Robinsons purchased a Liberty Mutual LibertyGuard Deluxe

Homeowners Policy, effective May 1, 2014 through May 1, 2015 (the “Policy”).

(Doc. 1 at ¶ 31; Doc. 1-1). The Policy provides, in relevant part:

      SECTION I – PERILS INSURED AGAINST

      COVERAGE A – DWELLING and COVERAGE B – OTHER
      STRUCTURES

             We insure against risk of direct loss to property described
             in Coverages A and B only if that loss is a physical loss
             to property. We do not insure, however, for loss:

             …

             2. Caused by:

             …

             e. Any of the following:

             …

             (7) Birds, vermin, rodents, or insects.

             …

(Doc. 1-1 at 14). The Policy also states that “[t]his policy applies only to loss in

Section I or “bodily injury” or “property damage” in Section II, which occurs

during the policy period. (Doc. 1-1 at 23).

      The Robinsons renewed the Policy for the 2015-2016 and 2016-2017 policy
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years. (Doc. 1 at ¶¶ 52-53). Each policy has the same material terms, conditions,

and exclusions. (Compare Doc. 1-1 with Doc. 1-2 and Doc. 1-3).

       On September 15, 2016, the Robinsons submitted a claim to Liberty for loss

of use of their home due to the spider infestation. (Doc. 1 at ¶ 56). On September

16, 2016, Liberty Claims Adjuster Thomas Curcio told Mr. Robinson that Liberty

would deny the claim based on the Policy’s insect exclusion. (Doc. 1 at ¶ 57).

Later on September 16, 2016, Mr. Curcio told Mr. Robinson that the claim had

been submitted for “higher review.” (Doc. 1 at ¶ 58). On September 20, 2016, Mr.

Curcio told Mr. Robinson that Liberty’s legal department was reviewing the claim,

and that it would take two weeks for Liberty to issue an opinion on whether the

insect exclusion in the Policy applied to spiders. (Doc. 1 at ¶ 59). During the

September 20, 2016 conversation with Mr. Robinson, Mr. Curcio admitted that

spiders are not insects and that the exclusion would not apply. (Doc. 1 at ¶ 60).

On September 29, 2016, Mr. Curcio informed the Robinsons that Liberty’s legal

department had advised that spiders are insects, and Liberty would deny the claim.

(Doc. 1 at ¶ 61).

       On September 30, 2016, Mr. Curcio, on behalf of Liberty, sent the

Robinsons a letter regarding their claim. (Doc. 1 at ¶ 62; see Doc. 1-4 at 2-3). The

letter states, in relevant part:

       As we recently discussed, we have completed our investigation of
       your homeowner’s claim, which revealed a brown recluse spider
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      infestation to the home.

      After a careful investigation of your claim, we have determined that
      your policy does not afford coverage for loss as a result of spider
      infestation.

      The applicable policy provisions are as follows:

      SECTION I – PERILS INSURED AGAINST

      COVERAGE A – DWELLING and COVERAGE B – OTHER
      STRUCTURES

      We insure against risk of direct loss to property described in
      Coverages A and B only if that loss is a physical loss to property. We
      do not insure, however, for loss:

      2. Caused by:
            e. Any of the following:
                  (7) Birds, vermin, rodents, or insects.

(Doc. 1-4 at 2) (emphasis in original).

      Immediately after receiving Liberty’s September 30, 2016 letter, Mr.

Robinson tried to contact Mr. Curcio’s supervisor, Emily Rennert. Mr. Robinson

left a message for Ms. Rennert and asked her to call him to discuss the denial of

the Robinson’s claim. (Doc. 1 at ¶ 65). On October 3, 2016, Ms. Rennert called

Mr. Robinson and told him that Liberty considers spiders insects, and that was the

basis for the denial of the claim. (Doc. 1 at ¶ 66). On October 4, 2016, Mr.

Robinson sent a letter to Ms. Rennert requesting that Liberty reconsider the denial

of the Robinsons’ claim. (Doc. 1 at ¶ 68; see Doc. 1-5 at 2-8). On October 6,

2016, Ms. Rennert sent an email to the Robinsons explaining that Liberty’s
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“coverage position remains the same.” (Doc. 1 at ¶ 69; see Doc. 1-6 at 2). Liberty

continues to deny the Robinsons’ claim. (Doc. 1 at ¶ 80).

       Based on these allegations, the Robinsons filed this lawsuit, asserting breach

of contract and bad faith claims against Liberty. (Doc. 1). Pursuant to Rule

12(b)(6) of the Federal Rules of Civil Procedure, Liberty asks the court to dismiss

all of the Robinsons’ claims. (Doc. 6).

III.   DISCUSSION

       A Rule 12(b)(6) motion to dismiss attacks the legal sufficiency of the

complaint. “To survive a motion to dismiss, the plaintiff must plead ‘a claim to

relief that is plausible on its face.’” Butler, 685 F.3d at 1265 (quoting Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 555 (2007)). “A claim has facial plausibility

when the plaintiff pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

       1.    Breach of Contract

       In count one of their complaint, the Robinsons allege that Liberty breached

the terms of the Policy when it did not provide coverage for loss of the Robinsons’

home due to the spider infestation. Under Alabama law, to state a claim for breach

of contract, a plaintiff must allege: “(1) the existence of a valid contract binding the

parties in the action, (2) his own performance under the contract, (3) the


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defendant’s nonperformance, and (4) damages.” City of Gadsden v. Harbin, 148

So. 3d 690, 696 (Ala. 2013). Liberty contends that the Robinsons’ breach of

contract claim fails because they have not alleged facts showing Liberty’s

nonperformance.    According to Liberty, no coverage exists under the Policy

because the loss occurred before the Policy period began and because the loss is

excluded under the Policy’s insect/vermin exclusion. (Doc. 6 at 7-17). The court

does not consider Liberty’s argument with respect to when the loss occurred

because, as explained below, the court finds that the loss is excluded under the

Policy’s insect/vermin exclusion.

      “General rules of contract law govern an insurance contract.” Safeway Ins.

Co. of Ala., Inc. v. Herrera, 912 So. 2d 1140, 1143 (Ala. 2005). “The court must

enforce the insurance policy as written if the terms are unambiguous.”        Id.

“Whether a provision of an insurance policy is ambiguous is a question of law.”

Id. “[T]he mere fact that a word or a phrase used in a provision in an insurance

policy is not defined in the policy does not mean that the word or phrase is

inherently ambiguous.” Id. “A term is ambiguous only if, applying the ordinary

meaning, one would conclude that the provision containing the term is ‘reasonably

susceptible to two or more constructions.’” Herrera, 912 So. 2d at 1144 (quoting

State Farm Fire & Cas. Co. v. Slade, 747 So. 2d 293, 309 (Ala. 1999)). To

determine the ordinary meaning of an undefined term, the court should not use


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“technical, philosophical, or scientific meanings,” but rather “the meaning which

would be attached by an ordinary person of average understanding if purchasing

insurance.” Liggans R.V. Center v. John Deere Ins. Co., 575 So. 2d 567, 571 (Ala.

1991) (citing Appleman, Insurance Law and Practice, Rev. Vol. 13, §§ 7383, 7384

(1976)).

       The Robinsons claim that there home is a total loss due to a spider

infestation. (Doc. 1 at ¶¶ 28-29, 56). The Policy excludes coverage for loss

“[c]aused by . . . [b]irds, vermin, rodents, or insects.” (Doc. 1-1 at 14). Thus, if

spiders are “insects” or “vermin,” then, as Liberty contends, the exclusion applies.

If spiders are not “insects” or “vermin,” then, as the Robinsons argue, the

exclusion does not apply. 1         Because the Policy does not define “insects” or

“vermin,” the court turns to dictionary definitions of the terms to determine

whether an ordinary person would have understood them to include spiders. See

Herrera, 912 So. 2d at 1144 (using Merriam-Webster’s dictionary as evidence of

ordinary meaning); Carpet Installation and Supplies of Glenco v. Alfa Mut. Ins.


1
 The Robinsons suggest that because the complaint does not allege that Liberty denied the claim
based on the vermin exclusion, this portion of the exclusion is inapposite to the court’s analysis.
(Doc. 16 at 6). The court disagrees. The letter that the Robinsons attached to their complaint in
which Liberty denied the claim specifically refers to the “[b]ird, vermin, rodents, or insects”
exclusion in its entirety and does not narrowly deny coverage based only on the insect exclusion.
(Doc. 1-4 at 2). Therefore, the contents of the letter control. See Hoefling, 811 F.3d at 1277 (“A
district court can generally consider exhibits attached to a complaint in ruling on a motion to
dismiss, and if the allegations of the complaint about a particular exhibit conflict with the
contents of the exhibit itself, the exhibit controls.”).


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Co., 628 So. 2d 560, 562 (Ala. 1993) (“What is a dictionary definition if not an

assertion of that very meaning that an ordinary person would give a particular

word? It is exactly the result of an examination into the interpretation that ordinary

people would give the word.”).2

       Merriam-Webster’s defines “insect” as “any number of small invertebrate

animals that are more or less obviously segmented and that include members of the

class Insecta and others (as spiders, mites, ticks, centipedes, sowbugs) having

superficial resemblance to members of Insecta – not used technically.” Merriam-

Webster’s Third New International Dictionary at 1168 (1993 ed.). Dictionary.com

defines “insect” as “any small arthropod, such as a spider, tick, or centipede,

having       a      superficial,       general       similarity       to      the      insects.”

https://www.dictionary.com/browse/insect.             Thus, applying the ordinary meaning

of the word, the term “insect” expressly includes spiders.

       Citing five online dictionaries, the Robinsons contend that “[t]he

overwhelming number of dictionaries describe insects as what they are – creatures


2
  As part of their response in opposition to Liberty’s motion to dismiss, the Robinsons demand
an evidentiary hearing pursuant to Rule 201(c)(2) of the Federal Rules of Evidence, “[t]o the
extent the Motion to Dismiss invokes Fed. R. Evid. 201(c)(2)’s authority to ask the Court to take
judicial notice of what is meant by ‘insect’ in the policy.” (Doc. 16 at 2). Liberty has not asked
the court to take judicial notice of what is mean by insect—or vermin—for that matter. Liberty
argues that under the relevant rules of contract interpretation, the court should find that the
ordinary meaning of “insect” and “vermin” includes spiders, and therefore, the plain language of
the Policy excludes coverage for the Robinsons’ loss. (See Doc. 6 at 14-17). Therefore, the
court need not hold an evidentiary hearing pursuant to Rule 201(c)(2) of the Federal Rules of
Evidence.
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with six legs.” (Doc. 16 at 16). However, of the five online dictionaries cited by

Plaintiffs,   three   include   spiders        in   their   definition   of     “insect.”

https://en.oxforddictionaries.com/definition/insect (defining insect as, among other

things, “[a]ny small invertebrate animal such as a spider or tick”);

https://www.collinsdictionary.com/dictionary/english/insect         (defining     insect

loosely as “any similar invertebrate, such as a spider, tick, or centipede”);

https://www.yourdictionary.com/insect (defining insect “popularly” as “any small

arthropod, usually wingless, including spiders, centipedes, pill bugs, and mites”).

Thus, the majority of the authority cited by the Robinsons actually supports the

court’s conclusion that the term “insect,” in its plain and ordinary sense, includes

spiders.

       The Robinsons maintain that, as a technical or scientific matter, spiders and

insects are classified differently depending on body shape and number of legs, and

therefore, the average person knows that spiders are arachnids, not insects. (Doc. 1

at ¶¶ 34-38; Doc. 16 at 7-8). But, this position asks the court to ignore controlling

law governing contract interpretation. Here, that law demonstrates that when given

its ordinary, and not its technical or scientific meaning, the term “insect” includes

spiders. Therefore, the Robinsons’ loss due to a spider infestation is not covered

under the Policy’s “insect” exclusion.




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         The Policy’s “vermin” exclusion also applies under the circumstances of this

case.     Merriam-Webster’s defines “vermin” as “animals obnoxious to man,”

including “small animals (as lice, bedbugs, mice) that tend to occur in great

numbers, are difficult to control, and are offensive as well as injurious.” Merriam-

Webster’s Third New International Dictionary at 2544 (1993 ed.). Dictionary.com

defines “vermin” as “noxious, objectionable, or disgusting animals collectively,

especially those of small size that appear commonly and are difficult to control, as

flies,       lice,      bedbugs,       cockroaches,       mice,      and       rats.”

https://www.dictionary.com/browse/vermin.        Although dictionary definitions of

“vermin” do not expressly include spiders, the court finds that a person of ordinary

intelligence would understand that spiders are small harmful, objectionable,

noxious, or disgusting animals that sometimes occur in great numbers and can be

difficult to control. Indeed, the Robinsons allege in their complaint that multiple

efforts to eradicate the spider infestation have failed, and the spiders remain “so

pervasive that a clear and present danger exists.” (Doc. 1 at ¶ 21; see also Doc. 1

at ¶¶ 15-20).

         At least one court tasked with interpreting similar policy language reached

the same conclusion. See Gregory v. Nationwide Mut. Ins. Co., 2012 WL 6651342

(E.D. Cal. Dec. 19, 2012). In Gregory, plaintiffs filed a homeowner’s insurance

claim with Nationwide for a mite infestation. Id. at *3. Nationwide denied the


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claim because the policy excluded coverage for loss from “[n]esting or infestation,

or discharge or release of waste products or secretions by birds, vermin, rodents,

insects or domestic animals.”     Id. at *4.   Relying on the Merriam-Webster’s

Dictionary definition of “vermin” and “an objectively reasonable reading of the

policy,” the court found that “vermin” included mites. Id. at *4-5. In reaching this

conclusion, the court commented:

      Many other potential sources of loss, unlikely to be covered, were not
      listed. Creatures potentially described as vermin, including skunks,
      snakes, and spiders, were not named in the exclusions. Yet an
      objectively reasonable insured would understand the policy to exclude
      coverage for loss caused by these creatures because of the broad
      definition of vermin.

Id. at *5. Although not binding on this court, Gregory’s rationale is particularly

persuasive given the nearly identical policy exclusion in this case. Spiders are not

named among the exclusions in the Policy, but based on the ordinary meaning of

the term “vermin,” an objectively reasonable insured would understand the Policy

to exclude coverage for loss caused by spiders given the definition of the term,

which includes small, objectionable animals that are difficult to control in great

numbers.

      In sum, applying the ordinary meaning of “insect” and “vermin,” the court

finds that these terms are not ambiguous, and that a person of ordinary intelligence

would understand them to include spiders.       Accordingly, the court GRANTS

Liberty’s motion to dismiss the Robinsons’ breach of contract claim.

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      2.     Bad Faith

      In count two of their complaint, the Robinsons allege that Liberty acted in

bad faith when it refused to pay and investigate their claim. Under Alabama law,

      the tort of bad-faith refusal to pay a claim has four elements—(a) a
      breach of insurance contract, (b) the refusal to pay claim, (c) the
      absence of arguable reason, (d) the insurer’s knowledge of such
      absence—with a conditional fifth element: “(e) if the intentional
      failure to determine the existence of a lawful basis is relied upon, the
      plaintiff must prove the insurer’s intentional failure to determine
      whether there is a legitimate or arguable reason to refuse to pay the
      claim.”

State Farm Fire and Cas. Co. v. Brechbill, 144 So. 3d 248, 258 (Ala. 2013)

(quoting Nat. Sec. Fire & Cas. Co. v. Bowen, 417 So. 2d 179, 183 (Ala. 1982)).

As explained above, Plaintiffs have not alleged breach of the insurance contract.

See supra pp. 6-12 . Therefore, Plaintiffs’ bad faith claim fails as a matter of law.

See Brechbill, 144 So. 3d at 258; Poonawala v. AIG Claim Sers., Inc., 2006 WL

8436586, at *2 (N.D. Ala. Nov. 20, 2006) (“Breach of contract is a prerequisite to

bad faith.”) (citing State Farm Fire & Cas. Co. v. Slade, 747 So. 2d 292, 304 (Ala.

1999)).    Accordingly, the court GRANTS Liberty’s motion to dismiss the

Robinsons’ bad faith claim.




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III.   CONCLUSION

       The court GRANTS Liberty’s motion to dismiss Plaintiffs’ complaint. The

court will enter a separate order consistent with this memorandum opinion

dismissing Plaintiffs’ claims with prejudice.

       DONE and ORDERED this February 11, 2019.



                                    _________________________________
                                    ANNEMARIE CARNEY AXON
                                    UNITED STATES DISTRICT JUDGE




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